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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

MARCIA DEWEY AND COREY DEWEY, )
)

PLAINTIFFS, )

)

Vv. ) CASE No:

)

K SPLIT LOGISTICS, LLC., a Texas limited )
Liability company, AKINTADE O. KAYODE )
AND JAUNOT L. NELSON, )
)

)

DEFENDANTS. )

COMPLAINT AT LAW

Now Come the Plaintiffs, MARCIA DEWEY AND COREY DEWEY, and for
their Complaint against K SPLIT LOGISTICS, LLC., a Texas limited liability company,
AKINTADE O. KAYODE AND JAUNOT L. NELSON, states as follows:

Parties

1. Plaintiff, MARCIA DEWEY, was at all relevant times a resident of Ogle County
in this district and was married to plaintiff, COREY DEWEY, on May 11, 2013,
as his wife.

2. Plaintiff, COREY DEWEY, was at all times relevant herein a resident of Ogle
County within the Northern District of Illinois and was married to Marcia Dewey
on May 11, 2013, as her husband.

3. Defendant, K SPLIT LOGISTICS, is a limited liability company domiciled within
the State of Texas and doing business in Illinois within the Northern District of

Illinois.
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4. Defendant, AKINTADE O. KAYODE, is a resident of the State of Texas and is

the registered owner of a certain 2013 Freightliner cargo truck involved in a
motor vehicle accident in Ogle County, Illinois within the Northern District of
Illinois.
Defendant, JAUNOT L. NELSON, was at all times relevant a resident of the State
of Texas and operated a certain 2013 Freightliner cargo truck that was involved in
a motor vehicle accident in Ogle County, Illinois which is located within the
Northern District of Illinois.

Jurisdiction

The Court has jurisdiction of the subject matter of this proceeding pursuant to 28

U.S.C. §1332 in that this proceeding (1) is between citizens of different states and the

matter in controversy exceeds $75,000, exclusive of interest and costs, and, (2) venue in

this District is proper under 28 U.S.C. §1391 (b)(2) in that the event leading to the

alleged damages suffered arose in this District.

Count I
Negligence

Marcia Dewey vs. K Split Logistics, LLC., A Texas Limited Liability Company,

1.

Akintade O. Kayode, and Jaunot L. Nelson

That on or about June 1, 2021, the plaintiff, MARCIA DEWEY, was operating
her motor vehicle in an easterly direction along and upon Pines Road in Pine
Creek Township, Ogle County and State of Illinois and was approaching its
intersection with Lowell Park Road.

That at the aforementioned time and place, the Defendant, JAUNOT L. NELSON,

was operating a 2013 Freightliner box truck, owned by Defendant, AKINTADE
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KAYODE, and K SPLIT LOGISTICS, LLC., a Texas limited liability company,
in a southerly direction along and upon Lowell Park Road approaching its
intersection with Pines Road.

3. That at the aforesaid common intersection a sudden and violent collision occurred
causing severe injury to both of plaintiff's lower extremities.

4. That at all relevant times herein, it was the duty of the defendants, individually,
and as to each of them, to exercise ordinary care in their maintenance, operation,
ownership and control of this vehicle.

5. That in violation of said duty, the defendants, individually and as to each of them,
were guilty of one or more or all of the following negligent acts or omissions to
act:

a. Failed to keep a proper lookout for other vehicles upon the roadway;

b. Failed to stop at a properly posted stop sign for southbound traffic on
Lowell Park Road;

c. Failed to yield to cross traffic on Pines Road before entering the
intersection;

d. Failed to stop to avoid a collision;

e. Was otherwise careless and negligent.

6. That as a direct and proximate result of one or more or all of the foregoing
careless and negligent acts or omissions to act, the Plaintiff, MARCIA DEWEY,
was caused to suffer severe, painful, permanent injuries to her body and in the
future will continue to suffer from said pain and disability and disfigurement; has

been caused to expend great sums of money for necessary medical care and
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treatment; and in the future will be caused to expend additional sums of money

for necessary medical care and treatment; and has been deprived of an opportunity

to attend to the normal affairs of her daily life, including her gainful occupation.
WHEREFORE, the Plaintiff, MARCIA DEWEY, demands judgment in her favor and against

the Defendants, KSPLIT LOGISTICS, LLC., AKINTADE KAYODE AND JAUNOT L.
NELSON, individually and as to each of them, in a sum in excess of SEVENTY FIVE
THOUSAND ($75,000.00) DOLLARS, plus costs of this suit.

Count II
Corey Dewey — Loss of Consortium

Now Comgs the Plaintiff, COREY DEWEY, as husband of Marcia Dewey, and
for his Complaint against the Defendants, individually and as to each of them, states as

follows:

1. That Corey Dewey, was married to Marcia Dewey in Pine Creek Township on
May 11, 2013 and was at all times relevant herein her lawfully wedded husband.

2. That on or about June 1, 2021, the plaintiff, MARCIA DEWEY, was operating
her motor vehicle in an easterly direction along and upon Pines Road in Pine
Creek Township, Ogle County and State of Illinois and was approaching its
intersection with Lowell Park Road.

3. That at the aforementioned time and place, the Defendant, JAUNOT L. NELSON,
was operating a 2013 Freightliner box truck, owned by Defendant, AKINTADE
KAYODE, and K SPLIT LOGISTICS, LLC., a Texas limited liability company,
in a southerly direction along and upon Lowell Park Road approaching its

intersection with Pines Road.
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4. That at the aforesaid common intersection a sudden and violent collision occurred
causing severe injury to both of plaintiff's lower extremities.

5. That at all relevant times herein, it was the duty of the defendants, individually,
and as to each of them to exercise ordinary care in their maintenance, operation,
ownership and control of this vehicle.

6. That in violation of said duty, the defendants, individually and as to each of them,
were guilty of one or more or all of the following negligent acts or omissions to
act:

a. Failed to keep a proper lookout for other vehicles upon the roadway;

b. Failed to stop at a properly posted stop sign for southbound traffic on
Lowell Park Road;

c. Failed to yield to cross traffic on Pines Road before entering the
intersection;

d. Failed to stop to avoid a collision;

e. Was otherwise careless and negligent.

7. That as a direct and proximate result of one or more or all of the foregoing
careless and negligent acts or omissions to act, the Plaintiff, MARCIA DEWEY,
was caused to suffer severe, painful, permanent injuries to her body and in the
future will continue to suffer from said pain and disability; has been caused to
expend great sums of money for necessary medical care and treatment; and in the
future will be caused to expend additional sums of money for necessary medical
care and treatment; and has been deprived of an opportunity to attend to the

normal affairs of his daily life, including his gainful occupation.
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8. That as a direct and proximate result of the foregoing careless and negligent acts
of these Defendants, individually and as to each of them, the Plaintiff, COREY
DEWEY, sustained a loss of consortium, including but not limited to the loss of
companionship, affection, society and other related benefits of marriage.

WHEREFORE, the Plaintiff, COREY DEWEY, demands judgment in his favor and

against the Defendants, KSPLIT LOGISTICS, LLC., AAINTADE KAYODE AND
JAUNOT L. NELSON, individually and as to each of them, in a sum in excess of

SEVENTY FIVE THOUSAND ($75,000.00) DOLLARS, plus costs of this suit.

Respectfully submitted by:

s/Alan C. Sangiacomo
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